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                    IN THE UNITED STATES BANKRUPTCY COURT
                  FOR THE EASTERN DISTRICT OF PENNSYLVANIA
____________________________________
In re:                               :    Chapter 7
                                     :
Financial Business and Consumer      :    Case No. 24-13029 AMC
               1
Solutions, Inc. ,                    ;
                                     :
                            Debtor.  :
____________________________________:

    NOTICE OF APPLICATION FOR ENTRY OF AN ORDER PURSUANT TO 11 U.S.C.
    §§ 327(a) AND 328(a), FEDERAL RULE OF BANKRUPTCY PROCEDURE 2014 AND
        LOCAL BANKRUPTCY RULES 2014-1 AND 9013-1(d) AUTHORIZING THE
    RETENTION AND EMPLOYMENT OF GIULIANO MILLER & COMPANY, LLC AS
         ACCOUNTANTS FOR CHRISTINE C. SHUBERT, CHAPTER 7 TRUSTEE

          TO:     THE DEBTORS AND COUNSEL, OFFICE OF THE U.S. TRUSTEE, THE
                  CLERK’S SERVICE LIST, AND ALL PARTIES REQUESTING NOTICE
                  PURSUANT TO FED. R. BANKR. P. 2002

      PLEASE TAKE NOTICE that Christine C. Shubert (the “Trustee”), the chapter 7
trustee for the estate of Financial Business and Consumer Solutions, Inc., (the “Debtor”), by and
through her proposed attorneys, Fox Rothschild LLP, has filed an Application for Entry of an
Order Pursuant to 11 U.S.C. §§ 327(a) and 328(a,) Fed. R. Bankr. P. 2014 and L.B.R. 2014-1
Authorizing the Retention and Employment of Giuliano Miller & Company, LLC (“GMCO”) as
Attorneys for Christine C. Shubert, Chapter 7 Trustee (the “Application”).

1.        Your rights may be affected. You should read these papers carefully and discuss them
          with your attorney, if you have one in this bankruptcy case. (If you do not have an
          attorney, you may wish to consult an attorney).

2.        If you do not want the court to grant the relief sought in the Application or if you want
          the court to consider your views on the Application, then on or before September 23, 2024
          by 4:00 p.m. you or your attorney must file a response to the Application. (see
          Instructions on next page).

3.        If you do not file a response to the Application, the court may enter the relief requested
          in the Application without a hearing.

4.        You may contact the Bankruptcy Clerk's office at 215-408-2800 to find out whether a
          hearing has been scheduled.

5.        If a copy of the Application is not enclosed, a copy of the Application will be provided to
          you if you request a copy from the attorney whose name and address is listed on the next
          page of this Notice.

Filing Instructions


1
    The last four (4) numbers of the Debtor’s Federal Employer Identification Number are 1430.
                                                                                                 162197479.2
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6.    If you are required to file documents electronically by Local Bankruptcy Rule 5005-
      1, you must file your response electronically.

7.    If you are not required to file electronically, you must file your response at Clerk, United
      States Bankruptcy Court, 900 Market Street, Suite 400, Philadelphia, PA 19107.

8.    If you mail your response to the bankruptcy clerk’s office for filing, you must mail it
      early enough so that it will be received on or before the date stated in Paragraph 2 on the
      previous page of this Notice.

9.    On the same day that you file or mail your Response to the Application, you must mail or
      deliver a copy of the Response to the movant’s attorney:

                               Michael G. Menkowitz, Esquire
                                Martha B. Chovanes, Esquire
                                   2000 Market Street, 20th Floor
                                   Philadelphia, PA 19103-3222
                                (215) 299-2000/Fax (215) 299-2150
                               mmenkowitz@foxrothschild.com
                               mchovanes@foxrothschild.com

                                            FOX ROTHSCHILD LLP

                                            By:     /s/ Michael G. Menkowitz
                                                  Michael G. Menkowitz, Esquire
                                                  Martha B. Chovanes, Esquire
                                                  2000 Market Street, 20th Floor
                                                  Philadelphia, PA 19103-3222
                                                  (215) 299-2000/Fax (215) 299-2150
                                                   mmenkowitz@foxrothschild.com
                                                   mchovanes@foxrothschild.com

                                            Proposed Attorneys for Christine C. Shubert, Chapter 7
                                            Trustee
Dated: September 13, 2024




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